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                                 2024-1133
                                 Applications In Internet Time, LLC v. Salesforce, Inc.
                                 Salesforce, Inc.




U.S. District Court, D. Nev.              3:13-cv-00628-RCJ                             Patent




Affirm the District Court's Final Judgment

                                                             ✔




The District Court's order granting of Defendant-Appellee Salesforce, Inc.’s motion for summary judgment of
invalidity and non-infringement of US Patent No. 7,356,482 and US Patent No. 8,484,111, and denying
Plaintiff-Appellant Application In Internet Time, LLC's cross-motion for summary judgment.


                                                                                  9/12/23
    ✔
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                                                        ✔




Affirm the District Court's Final Judgment.



✔




    ✔




                                                                ✔




Mag. Judge Robert A. McQuaid Jr.; Mag. Judge Valerie P. Cooke

                                                                                ✔




The parties have engaged in settlement discussions but none to date have been
successful.




None.



        11/22/23                               /s/ Kevin P.B. Johnson
                                               Kevin P.B. Johnson
